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ANTHONY D . HAYES ,
Plaintiff,

vs. No. 05-2230-D/V

CITY OF MEMPHIS, et al.,

Defendants.

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ORDER DIRECTING PLAINTIFF TO FILE A PROPERLY COMPLETED
l§ FORMA PAUPERIS AFFIDAVIT OR PAY THE CIVIL FILING FEE

 

Plaintiff Anthony D. Hayes filed ea ppg §§ complaint
pursuant to, inter §lia, Title VII of the Civil Rights Act of 1964,
42 U.S.C. § 2000e et §§g;, on March 28, 2005, along with a motion
seeking leave to proceed in forma pauperis.

Federal law provides that the “clerk of each district
court shall require the parties instituting any civil action, suit
or proceeding in such court, whether by original process, removal
or otherwise, to pay a filing fee” of $250. 28 U.S.C. § 1914(a).l
To ensure access to the courts, however, 28 U.S.C. § lQlB(a)
permits an indigent plaintiff to avoid payment of filing fees by
filing an in forma pauperis affidavit. Under that section, the
Court must conduct a satisfactory inquiry into the plaintiff’s

ability to pay the filing fee and prosecute the lawsuit. A

 

1 Effective March 7, 2005, the $150 civil filing fee was increased to

$250.

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with Huie 58 and/or 79(a) FRCP on t '

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plaintiff seeking ip ipipa pauperis standing must respond fully to
the questions on the Court's ip ip;pp pauperis form and execute the
affidavit in compliance with the certification requirements
contained in 28 U.S.C. § 1746. See, e.q., Revnolds v. Federal Bur.
of Prisons, 30 Fed. Appx. 574 (6th Cir. Mar. ll, 2002); Brogue v.
Fort Knox Fed. Credit Union, No. 86~l896, 1997 WL 242043 (6th Cir.
May 8, l997).

Plaintiff’s motion to proceed ip ip;mp pauperis does not
adequately document his monthly income, assets, and, financial
obligations. The plaintiff’s financial affidavit indicates that he
receives money from a business, profession, or other form of self-
employment, but provides no information about the amount of his
income. Likewise, the affidavit is silent concerning the
plaintiff’s expenses. The information provided by the plaintiff is,
therefore, insufficient to permit the Court to conclude that he is
indigent and unable to pay the filing fee or to give security
therefor.

Accordingly, the plaintiff is ORDERED, within thirty (30)
days of the date of entry of this order, either to pay the $250
civil filing fee or to file a properly completed ip fpppp pauperis
affidavit that is executed in compliance with 28 U.S.C. § l746.
The Clerk is ORDERED to send the plaintiff a copy of the
nonprisoner ip ipima pauperis affidavit along with this order.

Failure to timely comply with this order will result in dismissal

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of this action, pursuant to Fed. R. Civ. P. 4l(b), for failure to
prosecute.

iT is so oRDERED this gaf day of June, 2005.

 

. ALD `
UN TED STATE DISTRICT JUDGE

 

ISTRICT COURT WESTERN DISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02230 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

Anthony D. Hayes
4554 Tammy Cove
l\/lemphis7 TN 38116--203

Honorable Bernice Donald
US DISTRICT COURT

